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GREG ABBOTT

Jul
_— United States District Court
Southern District of Texas

Clerk, United States District Court JUL 3.0 2012
Southern District, Brownsville Division
600 E. Harrison, Room 101
Brownsville, TX 78520

David J, Bradley, Clerk of Court

Re: Ruben Gutierrez v. Rick Thaler, Dir., TDCJ-CID
Civil Action No. 1:09-cv-0022

Dear Clerk:

Enclosed please find copies of the petitioner’s state court records for the above
referenced case, all contained on one CD. Please indicate the date of filing of
these records on the enclosed copy of the letter and return it in the postage-paid

envelope provided.

Sincere]

 
  

 

Assistant Attorney General
Postconviction Litigation Division
(512) 936-1600

JDC/cak

Enclosure

cc: Margaret Schmucker Mark Allen Alexander
Law Office of Margaret Schmucker Attorney at Law
13706 Research Blvd. Suite 21 1-F 4106 North 23" Street
Austin, TX 78750 McAllen, TX 78504
(Letter Only) (Letter Only)

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